                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   UNITED STATES OF AMERICA                          )
                                                     )
                        Plaintiff,                   )
   v                                                 )      Case No. 3:07-cr-51-06
                                                     )      JUDGE VARLAN
   LASHONDA HALL                                     )
                                                     )
                        Defendant.                   )

               SUPPLEMENT IN SUPPORT OF COMPASSIONATE RELEASE

          LaShonda Hall, through undersigned counsel and in accordance with Local Rule

   7.1(d), hereby supplements her request for a sentence reduction under 18 U.S.C.

   § 3582(c)(1)(A) to inform the Court of legal developments occurring after the filing of her

   reply. The Tenth Circuit subsequently joined the Fourth in holding that those sentenced

   before the First Step Act could benefit from compassionate release even though the

   Act’s changes to the drug enhancements were not made retroactive. United States v.

   McGee, ---F.3d---, 2021 WL 1168980, *9 (10th Cir. Mar. 29, 2021). At the same time, in

   United States v. Wills the Sixth Circuit issued a narrow holding, providing that it is not an

   abuse of discretion to deny compassionate release when the request is based on a

   change in the law that has not been made retroactive. United States v. Wills, 991 F.3d

   720, 723-24 (6th Cir. 2021) (Case No. 20-6142). For several reasons Wills does not

   control the outcome here.

          Wills, who was proceeding pro se at the time, argued that he should be

   considered for compassionate release due to the First Step Act of 2018, which among

   other things changed the requirements under 21 U.S.C. § 841 and § 851 for enhancing

   a mandatory minimum sentence based on a prior felony drug conviction. Pub. L. 115-

                                                1

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 1 of 11 PageID #: 8389
   391, 132 Stat. 5222, § 401. Mr. Wills argued that after the First Step Act, he would no

   longer have a qualifying drug conviction that could trigger the § 851 enhancement; and

   that if sentenced today he would have only a 15-year mandatory minimum. United

   States v. Wills, No. 20-6142, Pro Se Brief, App. R. 5 at 1-2 (6th Cir. Oct. 21, 2020). On

   appeal, and unlike Ms. Hall, he did not assert any additional grounds supporting a

   reduction, such as any rehabilitation efforts or his good conduct while serving his

   sentence. See generally id. Thus, the Wills opinion addressed only a claim that a non-

   retroactive change in the law standing alone qualified as extraordinary and compelling,

   and it should not be read to address cases such as Ms. Hall’s, where she argues that

   the change in law in combination with other factors supports a finding of extraordinary

   and compelling reasons for release.

          When evaluating the Sixth Circuit’s position on whether a defendant can rely on

   the First Step Act’s change to § 851 enhancements, the Tenth Circuit characterized the

   Sixth’s conclusion in Tomes (which uses wording similar to Wills) as “the fact a

   defendant is serving a pre-First Step Act mandatory life sentence imposed under §

   841(b)(1)(A) cannot, standing alone, serve as the basis for a sentence reduction under

   § 3582(c)(1)(A)(i).”   McGee, ---F.3d---, 2021 WL 1168980, *10 (emphasis added)

   (discussing United States v. Tomes, 990 F.3d 500 (6th Cir. 2021). “Instead, we [in

   agreement with Tomes] conclude that it can only be the combination of such a sentence

   and a defendant’s unique circumstances that constitute “extraordinary and compelling

   reasons” for purposes of § 3582(c)(1)(A)(i).” Id. Wills’s holding is similarly limited to the

   conclusion that district courts can exercise their discretion to deny release when the

   request is based only on a non-retroactive change in the law. But Wills does not say

   the inverse—that it is necessarily an abuse of discretion to rely on a change in the law.
                                                2

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 2 of 11 PageID #: 8390
          In other words, Wills does not compel the conclusion that a non-retroactive

   change in the law will never support a finding of extraordinary and compelling reasons

   for release, especially when that change is considered along with additional,

   individualized factors. Overreading Wills as holding more would unduly raise concerns

   under the doctrine that issues which the court is silent on do not constitute binding

   authority. See Will v. Mich. Dep’t of State Police, 491 U.S. 58, 63 n.4 (1989) (“[T]his

   Court has never considered itself bound [by prior sub silentio holdings] when a

   subsequent case finally brings the jurisdictional issue before us.” (quotation marks

   omitted) (second alteration in original)); accord Staley v. Jones, 239 F.3d 769, 776 (6th

   Cir. 2001); see also Rinard v. Luoma, 440 F.3d 361, 363 (6th Cir. 2006) (rather,

   “[q]uestions which merely lurk in the record, neither brought to the attention of the court

   nor ruled upon, are not to be considered as having been so decided as to constitute

   precedents” (quotation marks omitted) (alteration in original)).

          Reading Wills to broadly also runs directly into conflict with every other circuit to

   have decided the issue.     To be sure, the court in Wills included some very broad

   statements, not necessary to the outcome, and which were pulled directly from the

   government’s brief. (United States v. Wills, No. 20-6142, Gov’t Brief, App. R. 8 (6th Cir.

   Nov. 19, 2020); United States v. McMurry, 653 F.3d 367, 375 (6th Cir 2011) (overruled

   on other grounds by United States v. Verwiebe, 874 F.3d 258 (6th Cir. 2017)) (a

   statement not necessary to the outcome of a case is non-binding dicta); Kada v. Barr,

   946 F.3d 960, 965 n.1 (6th Cir. 2020) (a standard pronounced in a case that is not

   necessary to the outcome is non-binding dicta). The court stated that “the ordinary

   practice is to apply new penalties to defendants not yet sentenced, while withholding

   that change from defendants already sentenced,” and “[w]hat the Supreme Court views
                                                3

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 3 of 11 PageID #: 8391
   as the ‘ordinary practice’ cannot also be an ‘extraordinary and compelling reason’ to

   deviate from that practice.” Wills, 991 F.3d at 723-24. But the panel was apparently

   unaware that such assertions—if deemed to prevent consideration of a change of law in

   combination with other factors—would create a circuit split. We must remember that

   Wills was proceeding pro se at the time. So, while noting that “other courts” ruled in his

   favor, he failed to cite a single case. Wills, 991 F.3d at 724; Wills, No. 20-6142, Pro Se

   Brief, App. R. 5. Nor did the government bring to the attention of the Sixth Circuit the

   fact that every circuit to decide the issue had agreed that a change in the law—even

   when not explicitly made retroactive by Congress—can be a basis for compassionate

   release either standing alone or in combination with other factors. United States v.

   Wills, No. 20-6142, Gov’t Brief, App. R. 8 (6th Cir. Nov. 19, 2020).

          Indeed, in United States v. McCoy, decided prior to Wills but not cited by either

   party, the Fourth Circuit flatly rejected the government’s proposition “that by taking into

   account the [non-retroactive] First Step Act's elimination of § 924(c) sentence-stacking,

   the district courts impermissibly gave that provision retroactive effect, contrary to

   Congress's direction.” 981 F.3d 271, 286 (4th Cir. 2020). The court explained “[t]he

   fact that Congress chose not to make § 403 categorically retroactive does not mean that

   courts may not consider that legislative change in conducting their individualized

   reviews of motions for compassionate release under § 3582(c)(1)(A)(i).” Id. (emphasis

   added). This conclusion was required because “the very purpose of § 3582(c)(1)(A) is to

   provide a ‘safety valve’ that allows for sentence reductions when there is not a specific

   statute that already affords relief but ‘extraordinary and compelling reasons’

   nevertheless justify a reduction.” Id. at 287.

          In McGee, decided shortly after Wills, the Tenth Circuit followed suit, rejecting the
                                                4

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 4 of 11 PageID #: 8392
   same government argument raised in Wills. 2021 WL 1168980, *9 (explaining that

   “nothing in § 401(c) or any other part of the First Step Act indicates that Congress

   intended to prohibit district courts, on an individualized, case-by-case basis, from

   granting sentence reductions under § 3582(c)(1)(A)(i) to some of those defendants

   [whose mandatory minimum sentences under 21 U.S.C. § 841(b)(1)(A) predated the

   First Step Act]”). The Tenth Circuit explained that “a district court finding the existence

   of ‘extraordinary and compelling reasons’ based, in part, on a defendant's pre-First Step

   Act mandatory life sentence under § 841(b)(1)(A) does not, in our view, necessarily

   usurp Congressional power.” Id.

          And, in United States v. Brooker, (also decided before Wills and mentioned in the

   government’s brief only for the proposition that granting a compassionate release

   reduction “is best left to the sound discretion of the trial court in the first instance,” (Wills,

   Gov’t Br., App. R. 8 at 12)), the Second Circuit emphasized that “[t]he only statutory limit

   on what a court may consider to be extraordinary and compelling is that ‘[r]ehabilitation .

   . . alone shall not be considered an extraordinary and compelling reason.’” 976 F.3d at

   230, 237-38 (quoting 28 U.S.C. § 994(t)). Thus, it held that a district court would not

   necessarily abuse its discretion by reducing a defendant’s otherwise-mandatory

   minimum sentence due to the length of the sentence and the individual’s rehabilitation

   efforts. Id. at 237-38.

          These circuits stand united in their correct view of Congressional intent. Indeed,

   such a conclusion is compelled by the explicit language of § 3582(c)(1)(A)(i) itself,

   which states that, “[t]he court may not modify a term of imprisonment once it has been

   imposed except that—(1) in any case . . . the court . . . may reduce the term of

   imprisonment . . . . if it finds that—(i) extraordinary and compelling reasons warrant such
                                                   5

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 5 of 11 PageID #: 8393
   a reduction. . . .” 18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added); United States v.

   Kibble, No. 20-7009, 2021 WL 1216543, at *6 (4th Cir. Apr. 1, 2021) (Gregory, C.J.,

   concurring) (citing United States v. Gonzales, 520 U.S. 1, 5 (1997) (“Read naturally, the

   word ‘any’ has an expansive meaning, that is, ‘one or some indiscriminately of whatever

   kind.’”)).   “When a statute provides for relief in ‘any case,’ there is no basis for

   categorically limiting that relief to a certain subset of cases.” Kibble, 2021 WL 1216543,

   at *6 (citing Gonzales, 520 U.S. at 5); accord Ali v. Federal Bureau of Prisons, 552 U.S.

   214, 220 (2008) (finding that Congress’ use of the word “any” was most naturally

   understood as meaning “of whatever kind”); Citizens’ Bank of La. v. Parker, 192 U.S.

   73, 81 (1904) (“The word any excludes selection or distinction.”).

           Chief Judge Gregory continued, noting that “[t]he Supreme Court reminds us that

   courts must give effect to each word in a statute.” Id. (citing Hartford Underwriters Ins.

   Co. v. Union Planters Bank, N.A., 530 U.S. 1, 6 (2000) (“Congress says in a statute

   what it means and means in a statute what it says there.”); Setser v. United States, 566

   U.S. 231, 239 (2012)). He explained that he was emphasizing “the breadth of 18 U.S.C.

   § 3582(c)(1)’s text . . . to give effect to the policy choice that Congress made plain:

   when extraordinary and compelling circumstances exist, even the most serious

   offenders may be eligible for mercy.” Id. The same holds true for Ms. Hall and her

   stacked § 924(c) sentence—when Congress said the Court can reduce any sentence, it

   meant just that.

           Importantly, reading Wills as categorically prohibiting reliance on a change in the

   law imputes to the Sixth Circuit an intent to issue a ruling directly opposed to every

   other circuit to have addressed the issue, but without acknowledging those other circuits

   or the split it was creating. Terry v. Tyson Farms, Inc., 604 F.3d 272, 278 (6th Cir.
                                                6

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 6 of 11 PageID #: 8394
   2010) (“As a general matter, we do not create conflicts among the circuits without strong

   cause. We adhere to this view because federal law (unlike state law) is supposed to be

   unitary” and “thus [we] temper the independence of the analysis in which we engage by

   according great weight to the decisions of other circuits on the same question.”

   (quotation omitted)). The Sixth Circuit does not lightly contradict the holdings of its

   sister circuits, and certainly not when it stands alone in its position. Id. (noting the court

   “assign[s] great weight to the unanimity of thought that precedes our own determination

   of this issue,” and declining to create a circuit split where every other circuit to have

   addressed the issue reached the same conclusion); Nixson v. Kent County, 76 F.3d

   1381, 1388 (6th Cir. 1996) (explaining the court “do[es] not take lightly disagreement

   with the views of our sister circuits,” and that it is “not constrained to follow them if, in

   our opinion, they are based upon an incomplete or incorrect analysis” and rejecting the

   conclusion of another circuit only after thorough review (emphasis added)). Given the

   Sixth Circuit’s reluctance to create a circuit split without thorough discussion, it appears

   that either the Wills panel was not aware of the holdings of the other circuits, or that it

   viewed its conclusion as aligned with those circuits.

          The united position of the other circuits is the correct view and flows logically

   from the fact that Congress envisioned courts considering whether a specific sentence

   was unduly long (regardless of whether an independent statute authorized collateral

   review) when it passed the original compassionate release statute in 1984. Brooker,

   976 F.3d at 238 (citing S. Rep. No. 98-225, at 55-56 (1984)). The Senate Report that

   originally accompanied the act in 1984 explained why it was abolishing federal parole,

   but simultaneously despite abolishing parole it explained that “there may be unusual

   cases in which an eventual reduction in the length of a term of imprisonment is justified
                                                 7

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 7 of 11 PageID #: 8395
   by changed circumstances. These would include cases of severe illness, cases in which

   other extraordinary and compelling circumstances justify a reduction of an unusually

   long sentence, and some cases in which the sentencing guidelines for the offense . . .

   have been later amended to provide a shorter term of imprisonment.” S. Rep. No. 98-

   225, at 55-56 (1984) (emphasis added); see also Brooker, 976 F.3d at 238; McCoy, 981

   F.3d at 286 n.8. The very nature of compassionate release—indeed the whole point—is

   to provide individuals deserving of a renewed look at their sentence a vehicle to seek

   relief even though no other path to relief exists.          If compassionate relief was only

   available to individuals who can benefit from a separate collateral attack statute, it

   would be redundant and serve no purpose.

          As one district court explained, “[d]espite this [original Congressional] intent, a

   2013 Inspector General's report by the Department of Justice found that ‘although the

   BOP's regulations and Program Statement permit non-medical circumstances to be

   considered as a basis for compassionate release, the BOP routinely rejects such

   requests and did not approve a single nonmedical request during the 6-year period of

   our review.’” United States v. Maumau, No. 2:08-CR-00758-TC-11, 2020 WL 806121, *6

   (D. Utah Feb. 18, 2020) (citing U.S. DEP'T OF JUSTICE, The Federal Bureau of

   Prisons’ Compassionate Release Program, at ii, (Apr. 2013).1).                 “In other words,

   Congress indicated thirty-five years ago that it would be appropriate to provide

   compassionate releases when sentences are ‘unusually long’ but the Bureau of Prisons

   consistently declined to seek relief in those situations.” Maumau, 2020 WL 806121, at

   *6; see also Brooker, 976 F.3d at 238 (citing Maumau’s reasoning with approval).



   1
   Available at https://oig.justice.gov/reports/2013/e1306.pdf (last visited Apr. 15, 2021).
                                                    8

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 8 of 11 PageID #: 8396
         Because of that failure, “Congress responded by eliminating the Bureau of

   Prisons’ gatekeeping function over compassionate releases. Accordingly, the fact that

   the phrase ‘extraordinary and compelling reason’ has not historically been interpreted to

   include exceedingly long sentences is an unpersuasive reason to exclude such an

   interpretation today.” Id. As the Second Circuit explained, “Congress clearly did not

   view this—a break with over 30 years of procedure—as a minor or inconsequential

   change.    Congresspersons called it ‘expand[ing],’ ‘expedit[ing],’ and ‘improving’

   compassionate release.” Brooker, 976 F.3d at 235 (citing 164 Cong. Rec. S7774 (daily

   ed. Dec. 18, 2018) (statement of Sen. Ben Cardin); 164 Cong. Rec. H10346, H10362

   (Dec. 20, 2018) (statement of Rep. Jerrold Nadler)).

         At bottom, Congress always contemplated that unduly long sentences could be

   reduced via compassionate release.          It did not provide any indication in the

   compassionate release statute that unduly long sentences should be reduced only if

   there was also an independent, specific statutory basis for retroactive application of a

   change in law. To the contrary, it provided that any sentence can be reduced. 18

   U.S.C. § 3582(c)(1). In light of the facts at issue in Wills, the conclusions of the other

   circuit courts that have directly addressed the question, and the legislative history

   surrounding the creation and expansion of compassionate release, Wills is best read as

   requiring that something more than just a change in the law is required—something

   evidencing that the individual’s circumstances render his sentence unreasonable today.

         Along these lines we must remember that the stacked 924(c) context is markedly

   different than the § 851 context because in most cases the § 924(c) stacking alone

   resulted in dramatic disparity not only with others sentenced on more serious crimes,

   but also when compared to an individual’s equally or more culpable codefendants and
                                               9

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 9 of 11 PageID #: 8397
 when compared to the mandatory minimum the individual would receive today. (See

 Supp., R. 237, PageID #316-321 (collecting cases)). Moreover, the Sixth Circuit itself

 has indicated that Wills cannot automatically be applied to the § 924(c) context, as it

 explained it would be appointing counsel to a defendant raising his stacked § 924(c)

 sentence as a basis for compassionate release due to the complexity of the issue, and

 despite the court’s pronouncement that there is no right to counsel on appeal from a

 compassionate release loss. United States v. Manso-Zamora, 991 F.3d 694, 696 and

 n.4 (6th Cir. 2021) (Case No. 20-1665).

        Wills simply does not dictate a dismissal here, where Ms. Hall’s request for a

 compassionate release reduction is based not only on the change in law occasioned by

 the First Step Act’s modification of § 924(c)’s “stacking” provision but also her excellent

 and unusual rehabilitation and conduct while serving her sentence. This combination of

 factors supports a finding of extraordinary and compelling reasons for a reduction in her

 sentence.

        WHEREFORE, Ms. Hall continues to respectfully request that the Court grant her

 motion for a reduced sentence under 18 U.S.C. § 3582(c)(1)(A)(i) and either resentence

 her without a twenty-five year “stacked” sentence or schedule a hearing to determine

 the extent of the reduction under the § 3553(a) factors.




                                             10

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 10 of 11 PageID #:
                                   8398
                                    Respectfully submitted,

                                    FEDERAL DEFENDER SERVICES
                                    OF EASTERN TENNESSEE, INC.

                                    By: /s/ Erin P. Rust
                                    Erin P. Rust MO Bar #63207
                                    Jonathan Moffatt TN Bar #18137
                                    Assistant Federal Defenders
                                    835 Georgia Avenue, Suite 600
                                    Chattanooga, Tennessee 37402
                                    (423) 756-4349




                                      11

Case 3:07-cr-00051-TAV-HBG Document 920 Filed 05/04/21 Page 11 of 11 PageID #:
                                   8399
